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               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                           3:05CV177-MU-2
                         (3:03CR109-02-MU)


ELIJAH JAMES GADDY,      )
     Petitioner,         )
                         )
       v.                )                      ORDER
                         )
UNITED STATES OF AMERICA,)
     Respondent.         )
_________________________)

     THIS MATTER comes before the Court on the “Government’s

Motion To Reconsider,” filed May 12, 2005.           For the reasons

stated herein, the government’s Motion, which the Court has

construed under Federal Rule of Civil Procedure 60(b), will be

granted; the Court’s Order of May 3, 2005 (granting the peti-

tioner’s Motion to Vacate in order to allow him to appeal his

criminal case) will be vacated; and the Petitioner’s Motion to

Vacate will be denied.

              I.   FACTUAL AND PROCEDURAL BACKGROUND

     As was noted in the Court’s Order of May 3, 2005, the

petitioner was indicted on June 25, 2003.           Such Indictment alleg-

ed, among other matters, that the petitioner had conspired to

traffic in certain specified quantities of powder and crack

cocaine, all in violation of 21 U.S.C. §§841(a)(1) and 846 (Count

One); that he had possessed with intent to distribute quantities

of crack cocaine on multiple occasions, all in violation of 21



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U.S.C. §841 (Counts Five through Seven); and that he had used and

carried a firearm, and had possessed such firearm during and in

relation to or in furtherance of a drug trafficking crime, all in

violation of 18 U.S.C. §924(c)(1).

     Although the petitioner initially signed a written Plea

Agreement in this matter, on September 16, 2003, the petitioner

appeared before the Court and entered “straight-up” guilty pleas

to the charges which he was facing.          Upon the conclusion of that

Plea & Rule 11 Proceeding, the Court conditionally accepted the

petitioner’s guilty pleas.

     Next, on April 21, 2004, the government filed a written

Motion for Downward Departure pursuant to U.S. Sentencing

Guidelines §5K1.1.    Such Motion asked the Court to reduce the

petitioner’s sentencing exposure from 360 months to life impri-

sonment plus 60 years consecutive, down to a total of 322 to 387

months imprisonment.

     On April 28, 2004, the Court held a Factual Basis & Senten-

cing Hearing for the petitioner.          On that occasion, the Court

reviewed the record, the Pre-Sentence Report and other pertinent

matters.   Thereafter, the Court sentenced the petitioner to

concurrent terms of 188 months imprisonment on Count One and

Counts Five through Seven, and to a mandatory minimum consecu-

tive 60-month term of imprisonment on Count Eight, for a total of

248 months imprisonment.       Thereafter, the Court’s Judgment and


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Commitment form was filed on May 7, 2004.

     The time during which the petitioner could have filed an

appeal expired on or about May 20, 2004, and the petitioner did

not file an appeal before that date.           Rather, on October 20,

2004, the petitioner filed his Notice of Appeal, arguing that

such Notice should be deemed timely filed on the basis of his

attorney’s Peak violation–-that is, on the basis of counsel’s

alleged failure to file an appeal as the petitioner reportedly

had requested.

     Not surprisingly, however, the government opposed the

petitioner’s appeal in a Motion to Dismiss, arguing that such

action was untimely brought.       The Fourth Circuit Court of Appeals

granted the government’s Motion, noting that the appeal had been

filed outside of both the 10 and 30-day periods which are ap-

plicable under the Federal Rules of Appellate Procedure. (See

United States v. Gaddy, No. 04-4915, slip op. at 1 (April 15,

2005)).

     Next, the petitioner returned to this Court on April 28,

2005 with his Motion to Vacate.           Such Motion to Vacate raised the

single claim that the petitioner had been subjected to ineffec-

tive assistance of counsel by virtue of his attorney’s alleged

failure to honor his request for a direct appeal.

     Upon its initial review of that matter, the Court observed

that the petitioner was claiming that his attorney had failed to


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follow his request for an appeal; and that the petitioner

actually had attempted to pursue his own appeal--albeit

unsuccessfully.    Thus, this Court followed its usual practice of

giving the petitioner the benefit of the doubt in these circum-

stances, and granted his Motion to Vacate for the sole purpose of

allowing the petitioner to directly appeal his criminal case.

     Further, the Court also followed its usual practice of ad-

vising counsel for the government that if she was aware that

former defense counsel had in his possession a document which

affirmatively could establish that the petitioner actually had

advised defense counsel that he did not want to appeal, or which

otherwise could conclusively rebut the petitioner’s allegation

that counsel failed to file an appeal as requested, counsel for

the government could present that evidence to the Court by way of

an appropriate request for reconsideration.           To that end, on May

12, 2005, counsel for the government timely filed a Motion for

Reconsideration.

     In particular, the government’s Motion asks the Court to

reconsider its May 3, 2005 Order on the grounds that defense

counsel had provided her with a document which establishes that

on May 17, 2004-–a date which was after the Court’s Judgment of

Commitment was filed, but before the expiration of the 10-day

appeal period--the petitioner signed a document indicating that

he did not wish to appeal his case.          Thus, the government


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contends, and the Court agrees, that the petitioner cannot

demonstrate ineffectiveness on the basis of his former attorney’s

decision not to appeal his case.

                                 II.   ANALYSIS

      Indeed, as the Court noted in its earlier Order, in United

States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993), the Fourth

Circuit held that an attorney’s failure to file an appeal, when

requested by his client to do so, is per se ineffective

assistance of counsel-–irrespective of the merits of the appeal.

See also Evitts v. Lucey, 469 U.S. 387, 391-05 (1985) (same); and

United States v. Witherspoon, 231 F.3d 923 (4th Cir. 2000) (dis-

cussing when failure to consult with client concerning whether to

appeal constitutes ineffective assistance).

      However, in the instant case the government has presented

the Court with irrefutable proof that not only did the petitioner

have his rights explained to him in a timely fashion by his

former attorney, but after he received that information, the

petitioner expressly advised his attorney that he did not wish to

appeal his case.       Accordingly, the Court finds that the

petitioner’s former attorney was not deficient for foregoing an

appeal because there simply was no timely1 request for an appeal


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       Furthermore, the Court’s conclusion that counsel was not deficient here
is not altered by the fact that on July 27, 2004, the petitioner wrote counsel
and asked him to file an appeal. To be sure, the petitioner’s request was
made well after the expiration of both the 10 and 30-day appeal periods which
are provided under Rule 4 of the Federal Rules of Appellate Procedure. Most
critically, such request was made after defense counsel had been compensated

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by the petitioner.

                              III.   CONCLUSION

      In the absence of any failure by counsel to honor a request

for an appeal, the petitioner cannot demonstrate that counsel was

ineffective as he alleged.        In that case, the petitioner is not

entitled to the relief which this Court previously granted him.

Therefore, the government’s Motion for Reconsideration must be

granted; and the Court’s Order of May 3, 2005 must be vacated.

                                  IV.   ORDER

      NOW THEREFORE, IT IS HEREBY ORDERED:

      1.   That the government’s Motion for Reconsideration                    is

GRANTED;

      2.   That the Court’s Order of May 3, 2005 (by which the

Court granted the petitioner’s Motion to Vacate), is VACATED;

      3.   That the petitioner’s Motion to Vacate is DENIED; and

      4.   That the Clerk shall send copies of this Order to the

petitioner and to counsel for the government, and shall send a

certified copy of this Order to the Clerk of the Fourth Circuit

Court of Appeals.

      SO ORDERED.




and released from appointment to petitioner by the Court. Thus, unlike in
Peak where the attorney failed to honor a timely request for an appeal based
upon his opinion that the proposed claim(s) lacked legal merit, this case is
distinguishable on the foregoing bases, thereby rendering the rule from Peak
inapplicable here.

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                       Signed: May 24, 2005




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